      Case 2:06-cr-00390-WBS Document 144 Filed 08/11/09 Page 1 of 2


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 5
     Attorney for Defendant
 6   ZHI XUE
 7
 8                              UNITED STATES DISTRICT COURT
 9                              EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           Criminal No. 2:06-cr-0390 EJG
12                 Plaintiff,
                                                         STIPULATION AND ORDER TO
13          v.                                           VACATE AND RESET COURT
                                                         APPEARANCE
14   ZHI XUE,
15              Defendant.
     _____________________________/
16
17
18          IT IS HEREBY STIPULATED by and between Assistant United States Attorney
19   Heiko Coppola, counsel for plaintiff, and Douglas Horngrad, counsel for Zhi Xue, that, with
20   regard to defendant Zhi Xue only, Mr. Xue’s August 14, 2009, court appearance be vacated
21   and reset for November 20, 2009, at 10:00 a.m., or as soon thereafter as is convenient for the
22   Court. The stipulated reset is requested because both counsel have a few remaining details
23   to resolve before sentencing.
24          Counsel for defendant contacted United States Probation Officer Linda Dillon and she
25   confirmed that she is available for the requested new court appearance. Counsel for
26   defendant has contacted Court Interpreter Coordinator Yolanda Riley Portal and she
27   //
28   //
      Case 2:06-cr-00390-WBS Document 144 Filed 08/11/09 Page 2 of 2


 1   confirmed that a Cantonese interpreter is available for the requested new date and time.
 2
 3   Dated: August 7, 2009                            /s/ Douglas Horngrad
                                                      DOUGLAS HORNGRAD
 4                                                    Attorney for Defendant
                                                      ZHI XUE
 5
 6
     Dated: August 7, 2009                            /s/ Heiko Coppola
 7                                                    HEIKO COPPOLA
                                                      Counsel for Plaintiff
 8
 9
10         IT IS SO ORDERED
11
12
13
     Dated: August 10, 2009                   /s/ Edward J. Garcia
14                                            HON. EDWARD J. GARCIA
                                              Senior United States District Court Judge
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